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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

FTX TRADING LTD., et al.,                                  Case No. 22-11068 (JTD)

         Debtors.                                          (Jointly Administered)



FTX TRADING LTD., WEST REALM
SHIRES SERVICES, INC., and ALAMEDA
RESEARCH LTD.,

                                    Plaintiffs,

                      - against -

MIRANA CORP., BYBIT FINTECH LTD.,                          Adv. Proc. No. 23-50759
TIME RESEARCH LTD., SIN WEI “SEAN”
TAN, WEI LIN “GERMAINE” TAN,
WEIZHENG YE, and NASHON LOO SHUN
LIANG,

                                    Defendants.



    DECLARATION OF DANIEL S. SHAMAH IN SUPPORT OF DEFENDANT BYBIT
  FINTECH LTD.’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                     AND FAILURE TO STATE A CLAIM

         I, Daniel S. Shamah, declare as follows:

         1.        I am an attorney admitted to the State Bar of New York and a Partner at

O’Melveny & Myers LLP, counsel of record for Defendant Bybit Fintech Ltd. I was admitted to

this Court pro hac vice on January 29, 2024. I submit this Declaration in support of Bybit

Fintech Ltd.’s (“Bybit”) Motion to Dismiss for Lack of Personal Jurisdiction and Failure to State

a Claim (the “Motion”). I have personal knowledge of the facts set forth herein, and if called as

a witness, I could and would testify competently thereto.



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        2.     Attached hereto as Exhibit 1 is a true and correct copy of Bybit’s Terms and

Conditions, as downloaded from https://www.bybit.com/app/terms-service/information by one of

my colleagues at O’Melveny & Myers LLP, on or around February 1, 2024.

        3.     Attached hereto as Exhibit 2 is a true and correct copy of the Mantle (f/k/a/

BitDAO) governance proposal “MIP-27: Clarification of $BIT to $MNT migration policy and

service” (“Clarification of Token Conversion Proposal”), cited in Plaintiff’s Complaint at

paragraph 76, footnote 18, as downloaded from https://snapshot.org/#/bitdao.eth/proposal/

0x00625c4f2d9aa9d4efb41ef3d0942194ca2087fae0599deced8b8ed86372c6c2 by one of my
colleagues at O’Melveny & Myers LLP, on or around February 5, 2024.

        4.     Attached hereto as Exhibit 3 is a true and correct copy of the Mantle (f/k/a/

BitDAO) governance proposal “MIP-22: Mantle Token Design, Conversion Parameters, and

Asset Handling” (“Mantle Token Conversion Proposal”), expressly cited, linked, and referenced

in the Clarification of Token Conversation Proposal, as downloaded from https://snapshot.

org/#/bitdao.eth/proposal/0x950dac4d5715b8aa8eab29c484b1c9dd0eed161141262b0425874f65

be4d9f8e by one of my colleagues at O’Melveny & Myers LLP, on or around February 2, 2024.

        I declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct.

        Executed on this 6th day of February, 2024 at New York, New York.



                                                              By:_/s/ Daniel S. Shamah ____

                                                                      Daniel S. Shamah




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